            Case 2:18-cr-00187-TOR        ECF No. 61        filed 06/07/21      PageID.149 Page 1 of 3
 PROB 12C                                                                                  Report Date: June 7, 2021
(6/16)

                                       United States District Court                           FILED IN THE
                                                                                          U.S. DISTRICT COURT
                                                                                    EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                     Jun 07, 2021
                                        Eastern District of Washington                   SEAN F. MCAVOY, CLERK



                    Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Holly Rachelle Sherwood                   Case Number: 0980 2:18CR00187-TOR-1
 Address of Offender: 2319 West 3rd Avenue # 1, Spokane, Washington 99201
 Name of Sentencing Judicial Officer: The Honorable B. Lynn Winmill, Chief U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: March 8, 2017
 Original Offense:           Possession of Stolen Mail, 18 U.S.C. § 1708
 Original Sentence:          Prison - 15 months              Type of Supervision: Supervised Release
                             TSR - 36 months

 Revocation Sentence:        Prison - 60 days
 (May 29, 2019)              TSR -34 months
 Asst. U.S. Attorney:        Earl A. Hicks                   Date Supervision Commenced: May 15, 2020
 Defense Attorney:           J. Houston Goddard              Date Supervision Expires: March 14, 2023


                                          PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 01/28/2021, 02/04/2021, 02/19/2021 and 03/24/2021.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

             12         Special Condition #11: You must abstain from the use of illegal controlled substances, and
                        must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: It is alleged that Ms. Sherwood violated the terms of her supervised
                        release as she used marijuana, methamphetamine, and heroin on or about May 29, 2021, a
                        direct violation of special condition number 11.

                        Ms. Sherwood’s conditions of supervised release were reviewed with her on May 18, 2020,
                        and she acknowledged an understanding of the terms and conditions of her supervised
                        release.
      Case 2:18-cr-00187-TOR             ECF No. 61        filed 06/07/21       PageID.150 Page 2 of 3
Prob12C
Re: Sherwood, Holly Rachelle
June 7, 2021
Page 2

                       On June 2, 2021, after Ms. Sherwood’s supervised release revocation hearing concluded
                       while initially being dishonest, Ms. Sherwood admitted to the undersigned that she last used
                       marijuana on or about May 29, 2021. After multiple attempts, Ms. Sherwood was able to
                       provide a urinalysis, in which it tested presumptive positive for methamphetamine,
                       amphetamines, and morphine. Thereafter, Ms. Sherwood admitted to the undersigned and
                       via a signed document that she used methamphetamine and heroin on or about May 29, 2021.
          13           Standard Condition # 4: You must be truthful when responding to the questions asked by
                       your probation officer.

                       Supporting Evidence: On June 2, 2021, it is alleged that Ms. Sherwood violated the terms
                       of her supervised release as she was dishonest with her U.S. probation officer on multiple
                       instances in respect to her use of illicit substances, a direct violation of standard condition
                       4.

                       Ms. Sherwood’s conditions of supervised release were reviewed with her on May 18, 2020,
                       and she acknowledged an understanding of the terms and conditions of her supervised
                       release.

                       On June 1, 2021, the undersigned directed Ms. Sherwood to report to the U.S. Probation
                       Office on June 2, 2021, before 11:30 a.m., to provide a urinalysis. Ms. Sherwood reported
                       to the U.S. Probation Office at approximately 12:20 p.m. It was at that time the undersigned
                       directly asked Ms. Sherwood if she had been remaining abstinent from illicit substances, in
                       which she responded she was indeed remaining abstinent from illicit substances. Ms.
                       Sherwood stated she was unable to provide a urine sample prior to the 1:30 p.m. hearing.
                       The Honorable Thomas O. Rice, U.S. District Judge, directed Ms. Sherwood to provide a
                       urinalysis before 4:30 p.m. on June 2, 2021, or she would go into the custody of the U.S.
                       Marshals Service. After the hearing, Ms. Sherwood initially informed the undersigned that
                       she had been remaining abstinent from illicit substances until she eventually stated she used
                       marijuana on May 29, 2021. Ms. Sherwood was informed she would still need to provide a
                       urinalysis before 4:30 p.m. Ms. Sherwood eventually did provide a sample which tested
                       presumptive positive for morphine and methamphetamine; she ultimately admitted to using
                       methamphetamine and heroin on May 29, 2021.

The U.S. Probation Office respectfully recommends the Court to incorporate the violation(s) contained in this petition
in future proceedings with the violation(s) previously reported to the Court.

                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                             Executed on:     06/07/2021
                                                                              s/Jonathan C. Bot
                                                                              Jonathan C. Bot
                                                                              U.S. Probation Officer
       Case 2:18-cr-00187-TOR       ECF No. 61     filed 06/07/21    PageID.151 Page 3 of 3
Prob12C
Re: Sherwood, Holly Rachelle
June 7, 2021
Page 3

 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X]      The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [X]      Defendant to appear before the Judge assigned to the
          case.
 [ ]      Defendant to appear before the Magistrate Judge.
 [X]      Other : All pending violations will be addressed at
                 the final Revocation of Supervised Release
                 hearing scheduled for 6/10/2021 at 11:30           Thomas O. Rice
                 a.m.                                               United States District Judge
                                                                    June 7, 2021
                                                                    Date
